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 1   ROB BONTA
     Attorney General of California
 2   ANYA M. BINSACCA, State Bar No. 189613
     EDWARD KIM, State Bar No. 195729
 3   Supervising Deputy Attorneys General
     CHRISTINA SEIN GOOT, State Bar No. 229094
 4   KRISTIN A. LISKA, State Bar No. 315994
     Deputy Attorneys General
 5    455 Golden Gate Avenue, Suite 11000
      San Francisco, CA 94102-7004
 6    Telephone: (415) 510-3916
      Fax: (415) 703-5480
 7    E-mail: Kristin.Liska@doj.ca.gov
               Christina.Goot@doj.ca.gov
 8
     Attorneys for Defendants
 9
                              IN THE UNITED STATES DISTRICT COURT
10
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
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12
     LETRINH HOANG, D.O., PHYSICIANS                       Case No. 2:22-cv-02147-WBS-AC
13   FOR INFORMED CONSENT, a not-for-
     profit organization, and CHILDREN’S               DECLARATION OF ERIKA
14   HEALTH DEFENSE, CALIFORNIA                        CALDERON, EXECUTIVE
     CHAPTER, a California Nonprofit                   DIRECTOR OF THE
15   Corporation,                                      OSTEOPATHIC MEDICAL
                                                       BOARD OF CALIFORNIA, IN
16                                         Plaintiffs, SUPPORT OF DEFENDANTS’
                    v.                                 OPPOSITION TO PLAINTIFFS’
17                                                     MOTION FOR PRELIMINARY
                                                       INJUNCTION
18   ROB BONTA, in his official capacity as
     Attorney General of California and, ERIKA             Judge:        Honorable William B. Shubb
19   CALDERON, in her official capacity as                 Action Filed: December 1, 2022
     Executive Officer of the Osteopathic
20   Medical Board of California (“OMBC”),

21                                       Defendants.

22
           I, Erika Calderon, declare:
23
           1.    I am the Executive Director of the Osteopathic Medical Board of California (Board),
24
     California Department of Consumer Affairs. I have been the Executive Director of the Board
25
     since November 1, 2022. In my official capacity as the Executive Director for the Board, I have
26
     personal knowledge of the facts stated herein and, if called as a witness I could and would testify
27
     competently to those facts to the best of my knowledge.
28
                                                       1
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 1         2.    The statutory authority and mandate for the powers and duties of Board is provided in

 2   the Osteopathic Act (Bus. & Prof. Code, §§ 3600-1 – 3600-5), which provides that the Board

 3   shall enforce the statutory provisions governing medical practitioners in Article 12 (commencing

 4   with Section 2220), of Chapter 5 of Division 2 of the Business and Professions Code as to

 5   osteopathic practitioners. This statutory authority is further detailed in Business and Professions

 6   Code §§ 2450-2459.7 (“Provisions Applicable to Osteopathic Physicians and Surgeons”). Under

 7   the Osteopathic Act, the Board has established a comprehensive program for licensing,

 8   regulating, investigating, and, where appropriate, disciplining physicians. The Board is an entity

 9   within the California Department of Consumer Affairs.

10         3.    The Board has the responsibility for enforcing the disciplinary provisions in Article

11   12 applicable to its licensees and the Osteopathic Act. The Board is authorized to take

12   administrative action against all persons guilty of violating such laws and possesses all the

13   powers granted for that purpose, including investigating information that a physician may be

14   guilty of unprofessional conduct.

15         4.    The mission of the Board is to protect health care consumers through the proper

16   licensing and regulating the practice of osteopathic physicians and surgeons and certain allied

17   health care professionals, as well as through the objective enforcement of the applicable law. The

18   Board also promotes access to quality medical care through its licensing and regulatory functions.

19   Protection of the public is the Board’s highest priority in exercising its licensing, regulatory, and

20   disciplinary functions.

21         5.    A primary way the Board protects the public is through the investigation of consumer

22   complaints involving the medical care patients have received from osteopathic physicians and

23   surgeons. The Board may also investigate osteopathic physicians and surgeons on its own

24   initiative based upon information it receives from other sources (even anonymous ones). Under

25   either scenario, each case is evaluated to determine whether there has been a potential violation of

26   applicable law. If Board staff determine that the Board lacks jurisdiction over the alleged

27   violation or that there is insufficient evidence of a violation, they will close the case and take no

28   further action.
                                                       2
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 1         6.    Alternatively, if Board staff determine that there may be evidence of a violation, then

 2   an investigation is opened. This investigation includes a preliminary evaluation of the case by a

 3   medical consultant for the Board, who examines the medical record, any additional evidence, and

 4   determines whether there is a potential violation of the standard of care. If the medical consultant

 5   determines that a potential violation may exist, the case is referred for further investigation and

 6   will be reviewed by a retained outside expert under contract with the Board who has the pertinent

 7   education, training, and expertise to evaluate the specific standard of care issues raised by the

 8   complaint. That expert will independently evaluate the medical record (without seeing the

 9   medical consultant’s opinion) and any evidence in the case, and makes an objective evaluation of

10   whether the subject physician violated the standard of care.

11         7.    All investigations and their contents are confidential unless and until formal

12   disciplinary action is taken and disciplinary proceedings are commenced.

13         8.    At each step of review—the initial intake review, the medical consultant review, and

14   the independent expert review—the complaint against a physician may be closed and rejected if

15   any of the reviewers conclude that there is not sufficient evidence to show a violation of

16   applicable law. Investigations are often closed because no violation has been found. For fiscal

17   year 2019-2020, for example, the Board received 627 complaints and opened 573 investigations.

18   An even smaller number of investigations, 16, were referred to the Attorney General’s Office for

19   consideration of filing disciplinary charges.

20         9.    If a complaint passes through these hurdles and disciplinary proceedings against the

21   physician are filed, the Board has the burden of proof to show by clear and convincing evidence

22   that the physician violated applicable law. For disciplinary actions involving the quality of

23   medical care a physician provided to patients, the Board has the burden of proof to show by clear

24   and convincing evidence that the physician violated the standard of care.

25         10.   If the Board initiates disciplinary proceedings against a physician, the physician is

26   afforded full due process. The physician is entitled to dispute the charges at an administrative

27   hearing presided over by an Administrative Law Judge. The physician’s counsel has an

28   opportunity to cross-examine the Board’s expert on the issue of the standard of care and may
                                                    3
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 1   present a defense expert challenging the Board expert on the standard of care. After the hearing,

 2   the Administrative Law Judge writes a proposed decision. The proposed decision is then sent to

 3   the Board for consideration. The Board members make the final decision on disciplinary matters

 4   and can either adopt, modify, or reject the proposed decision, but they are required to give

 5   deference to the Administrative Law Judge’s findings as to the respective credibility of

 6   conflicting expert testimony on the standard of care. If the decision finds grounds for discipline,

 7   the physician has the right to seek review of the decision in state court by way of administrative

 8   mandamus.

 9           11.     To date, no osteopathic physician or surgeon has been disciplined by the Board

10   related to the dissemination of COVID-19 misinformation or disinformation as defined in AB

11   2098.

12           12.     I understand that the following licensed California osteopathic physician is a Plaintiff

13   in this case:

14           Hoang, Letrinh, D.O., 20A7347

15           13.     This physician does not have a history of discipline against her license with the Board

16   for any issue relating to COVID-19 or patient care, other than an administrative citation issued for

17   the use of a fictitious business name without a permit in August 2020.

18           I declare under penalty of perjury under the laws of the State of California that the

19   foregoing is true and correct.

20           Executed this 23rd day of December, 2022, in Sacramento, California.

21

22                                                               ____________________________________
23                                                                     ERIKA CALDERON
                                                                       Declarant
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                                                              Declaration of Erika Calderon (2:22-cv-02147-WBS-AC)
